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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                JOHNSTOWN DIVISION

Linda Carpenter                                          Case No.:
140 Swan Dr.
Johnstown, PA 15909                                      Judge:

         Plaintiff,                                         COMPLAINT FOR DAMAGES
                                                              UNDER THE FAIR DEBT
v.                                                        COLLECTION PRACTICES ACT AND
                                                             OTHER EQUITABLE RELIEF
Resurgent Capital Services, LP
15 S. Main St. , Suite 600                                JURY DEMAND ENDORSED HEREIN
Greenville, SC 29601

         Defendant.


                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around July 16, 2008, Plaintiff retained an attorney to file bankruptcy.

8. On or around August 21, 2009, Plaintiff’s bankruptcy attorney faxed written notice to

     Defendant of Plaintiff’s representation.




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9. During this communication, Plaintiff’s attorney’s notice instructed Defendant to cease all

   further communications with Plaintiff.

10. Despite this notice, Defendant sent Plaintiff a collection letter on or around September 16,

   2009.

11. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

12. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

13. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

14. Defendant violated 15 U.S.C. §1692c in that it communicated with Plaintiff notwithstanding

   Plaintiff’s notice that Plaintiff was represented by an attorney.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

15. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

16. Defendant violated 15 U.S.C. §1692c in that it communicated with Plaintiff notwithstanding

   its receipt of written cease and desist instructions.

                                         COUNT THREE

                         Violation of the Fair Debt Collection Practices Act

17. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

18. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect the debt.




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                                          JURY DEMAND

19. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

20. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

                                                By: /s/ Richard J. Meier
                                                Richard J. Meier
                                                233 S. Wacker Drive, Suite 5150
                                                Chicago, IL 60606
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